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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              Case No. 22-81294-CIV-CANNON

  DONALD J. TRUMP,                              *
                                                *
         Plaintiff,                             *
                                                *
         v.                                     *
                                                *
  UNITED STATES OF AMERICA,                     *
                                                *
         Defendant.                             *
                                                *
  *      *       *       *       *      *       *       *      *       *       *       *         *

                NOTICE OF POTENTIAL SPECIAL MASTER CANDIDATES

         On August 27, 2022, this Court “provide[d] notice of its preliminary intent to appoint a

  special master in this case.” (Prelim. Order on Mot. Jud. Oversight & Add’l Relief, ECF No. 29,

  at 1 (filed Aug. 27, 2022).)

         In accordance with the rules of this Court, the undersigned respectfully proffers the

  attached letter and assorted attachments to the Court, which was authored by an attorney who is

  not a member of this Court’s bar. This letter informs the Court that four legal scholars who

  specialize, inter alia, in matters of Executive Privilege are available for appointment, should the

  Court make a final decision to appoint a special master in this case. Neither the author of this

  letter, the scholars themselves, nor the undersigned take any position on the question of whether

  the Court should appoint a special master; this letter is purely presented for informational

  purposes.

  Date: August 29, 2022

                                                    Respectfully submitted,

                                                    /s/ Andrew F. Knopf
                                                    Andrew F. Knopf, Esq.
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